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                     UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
United States of America,

      Plaintiff,
v.                                           ORDER
                                             Crim. No. 11‐280 (04) (MJD/JSM)
Jesus Lopez‐Vasquez
aka Hector Benitz Gutierrez,

      Defendant.
_____________________________________________________________________

      This matter is before the Court on the Defendant’s pro se motion for

modification of sentence pursuant to 18 U.S.C. § 3582(c)(2).

      The Defendant seeks a sentence reduction based on Amendment 782 to the

Sentencing Guidelines which lowered the drug quantity base offense levels

applicable to certain drug offenses. The Defendant is not eligible for a sentence

reduction, however, as he was sentenced to a term of imprisonment that is below

the minimum of the amended guideline range. See U.S.S.G. § 1B1.10 (b)(2)(A)

(except in cases where the defendant received a downward departure for

substantial assistance, the court may not reduce the defendant’s term of

imprisonment to a term that is less than the minimum of the amended guideline

range).
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      IT IS HEREBY ORDERED that Defendant’s Motion for Sentence Reduction

[Doc. No. 886] is DENIED.




Date: July 31, 2015         s/ Michael J. Davis
                            Michael J. Davis
                            United States District Court

Criminal No. 11‐280 (04)
